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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

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NUCURRENT INC.,

Plaintiff, : 19cv798 (DLC)

-VR : ORDER

SAMSUNG ELECTRONICS CoO., LTD and : eee eo cen en
SAMSUNG ELECTRONICS AMERICA, INC., : :

Defendants. ae

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DENISE COTE, District Judge: ~

 

 

 

 

 

Having reviewed the parties’ joint status report submitted
on November 2, 2020, it is nereby

ORDERED that the parties shall submit a further status
letter by April 2, 2021.

SO ORDERED:

Dated: New York, New York
November 5, 2020

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DENISE COTE
United States District Judge

 
